  

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, 0 5 X @ Q 8 4 0)

Plaintiff, Criminal No, 03-80810

vy, Honorable Gerald E. Rosen

1-1 AHMAD MUSA JEBRIL,

 

N-2 MUSA ABDALLAH JEBRIL,
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Defendants. , on 3 ff ~
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SUBHIEH JEBRIL’S PETITION TO 52 ry
ADJUDICATE THE VALIDITY OF == cy
HER INTEREST IN moe ot
4909 ROSALIE, DEARBORN, MICHIGAN “F7&

NOW COMES Petitioner, Subhich Jebril, by and through her attorney, Jorin G, Rubin the.
following:

lL. Tam the wife of Musa Abdallah Jebril. We were married in 1964 and are still

matried to this day.

2. On October 18, 1967, my husband and I purchased the property located at 4909

Rosalie, Dearborn, Michigan and assumed the existing mortgage secured by the property

(hercinafler the “subject property”). We received a warranty deed related to the subject property.

3. | My interest in the subject property is based on the fact that the title is in my name

with my husband. Under Michigan law, my husband and I own the subject property as tenants

by the entireties which prevents its forfeiture. See U.S. v. 2525 Leroy Lane, 910 F. 2d 343 (a
Cir, 1990), cert. denied, 111 8.Ct. 1414 (1991).

4. Ido not know of any acts conducted by the Defendants that would give rise to the

forfeiture of the subject property.

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5, Based on my ownership interest in the subject property, the property cannot be
forfeited to the government.

6. Pursuant to 21 U.S.C. 853(n)(6)(A) and (B), [ have a legal right, title and/or
interest recognized by law that is superior to that of the Defendants at the time the alleged
commission of the acts occurred which gave rise to this forfeiture and ] am a bona fide purchaser

of the subject property without reason to believe that the property was subject to forfeiture.

WHEREFORE, Petitioner, Subheih Jebril, seeks to have her ownership interest in the

subject property adjudicated by the Courts and have the forfeiture action against this property
dismissed in its entirety,

I declare, under penalty of perjury, that the facts contained in this Petition are true to the best of

my ability and information.
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LLbks Dbl

Subheih Jebril 9 §

Subsctibed and sworn to before me on

this 4 day of Hiyetartv0s.

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# G. Als (P60867)

Law Office of Jorin G, Rubin, PC
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Dated: March 3, 2005

 

 
